                                              Case 09-27168-LMI                         Doc 1            Filed 08/18/09                     Page 1 of 88
B1 (Official Form 1)(1/08)
                                              United States Bankruptcy Court
                                                      Southern District of Florida                                                                             Voluntary Petition
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 Name of Debtor (if individual, enter Last, First, Middle):                                             Name of Joint Debtor (Spouse) (Last, First, Middle):
  Cabi Downtown, LLC


All Other Names used by the Debtor in the last 8 years                                                  All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                             (include married, maiden, and trade names):




Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN                       Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
(if more than one, state all)                                                                           (if more than one, state all)
  XX-XXXXXXX
Street Address of Debtor (No. and Street, City, and State):                                             Street Address of Joint Debtor (No. and Street, City, and State):
  19950 West Country Club Drive
  Suite 900
  Aventura, FL                                                                         ZIP Code                                                                                      ZIP Code
                                                                                     33180
County of Residence or of the Principal Place of Business:                                              County of Residence or of the Principal Place of Business:
  Miami-Dade
Mailing Address of Debtor (if different from street address):                                           Mailing Address of Joint Debtor (if different from street address):


                                                                                       ZIP Code                                                                                      ZIP Code

Location of Principal Assets of Business Debtor                    244 Biscayne Blvd.
(if different from street address above):                          Miami, FL 33133


                   Type of Debtor                                       Nature of Business                                         Chapter of Bankruptcy Code Under Which
                (Form of Organization)                                     (Check one box)                                            the Petition is Filed (Check one box)
                   (Check one box)                              Health Care Business                                  Chapter 7
                                                                Single Asset Real Estate as defined                   Chapter 9                        Chapter 15 Petition for Recognition
    Individual (includes Joint Debtors)                         in 11 U.S.C. § 101 (51B)                                                               of a Foreign Main Proceeding
    See Exhibit D on page 2 of this form.                                                                             Chapter 11
                                                                Railroad
                                                                                                                      Chapter 12                       Chapter 15 Petition for Recognition
    Corporation (includes LLC and LLP)                          Stockbroker
                                                                                                                      Chapter 13                       of a Foreign Nonmain Proceeding
                                                                Commodity Broker
    Partnership
                                                                Clearing Bank
    Other (If debtor is not one of the above entities,          Other                                                                             Nature of Debts
    check this box and state type of entity below.)                                                                                                (Check one box)
                                                                        Tax-Exempt Entity
                                                                       (Check box, if applicable)                     Debts are primarily consumer debts,                 Debts are primarily
                                                                Debtor is a tax-exempt organization                   defined in 11 U.S.C. § 101(8) as                    business debts.
                                                                under Title 26 of the United States                   "incurred by an individual primarily for
                                                                Code (the Internal Revenue Code).                     a personal, family, or household purpose."

                                 Filing Fee (Check one box)                                             Check one box:                   Chapter 11 Debtors
    Full Filing Fee attached                                                                                   Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                               Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
    Filing Fee to be paid in installments (applicable to individuals only). Must                        Check if:
    attach signed application for the court's consideration certifying that the debtor
    is unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                           Debtor’s aggregate noncontingent liquidated debts (excluding debts owed
                                                                                                               to insiders or affiliates) are less than $2,190,000.
    Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                        Check all applicable boxes:
    attach signed application for the court's consideration. See Official Form 3B.                             A plan is being filed with this petition.
                                                                                                               Acceptances of the plan were solicited prepetition from one or more
                                                                                                               classes of creditors, in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information                                                                                                              THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
   Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
   there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors

    1-            50-           100-           200-       1,000-        5,001-        10,001-       25,001-      50,001-        OVER
    49            99            199            999        5,000        10,000         25,000        50,000       100,000       100,000

Estimated Assets

    $0 to         $50,001 to    $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
    $50,000       $100,000      $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                               million    million      million        million       million
Estimated Liabilities

    $0 to         $50,001 to    $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
    $50,000       $100,000      $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                               million    million      million        million       million
                                      Case 09-27168-LMI                   Doc 1        Filed 08/18/09                 Page 2 of 88
B1 (Official Form 1)(1/08)                                                                                                                                                  Page 2
                                                                                      Name of Debtor(s):
Voluntary Petition                                                                      Cabi Downtown, LLC
(This page must be completed and filed in every case)
                                 All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                                      Case Number:                         Date Filed:
Where Filed: - None -
Location                                                                              Case Number:                                   Date Filed:
Where Filed:
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                                             Relationship:                                  Judge:

                                       Exhibit A                                                                                Exhibit B
                                                                                         (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,                I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                        have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934                12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                           under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                        required by 11 U.S.C. §342(b).

        Exhibit A is attached and made a part of this petition.                         X
                                                                                            Signature of Attorney for Debtor(s)                     (Date)



                                                                                Exhibit C
  Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
       Yes, and Exhibit C is attached and made a part of this petition.
       No.

                                                                           Exhibit D
  (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
        Exhibit D completed and signed by the debtor is attached and made a part of this petition.
  If this is a joint petition:
        Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                      Information Regarding the Debtor - Venue
                                                                (Check any applicable box)
                    Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                    days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
                    There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                    Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                    this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                    proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                    sought in this District.
                                         Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                 (Check all applicable boxes)
                    Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                       (Name of landlord that obtained judgment)




                                       (Address of landlord)

                    Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                    the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                    Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period
                    after the filing of the petition.
                    Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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B1 (Official Form 1)(1/08)                                                                                                                                              Page 3
                                                                                           Name of Debtor(s):
Voluntary Petition                                                                           Cabi Downtown, LLC
(This page must be completed and filed in every case)
                                                                                    Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                               Signature of a Foreign Representative
     I declare under penalty of perjury that the information provided in this               I declare under penalty of perjury that the information provided in this petition
     petition is true and correct.                                                          is true and correct, that I am the foreign representative of a debtor in a foreign
     [If petitioner is an individual whose debts are primarily consumer debts and           proceeding, and that I am authorized to file this petition.
     has chosen to file under chapter 7] I am aware that I may proceed under
                                                                                            (Check only one box.)
     chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief
     available under each such chapter, and choose to proceed under chapter 7.                  I request relief in accordance with chapter 15 of title 11. United States Code.
     [If no attorney represents me and no bankruptcy petition preparer signs the                Certified copies of the documents required by 11 U.S.C. §1515 are attached.
     petition] I have obtained and read the notice required by 11 U.S.C. §342(b).
                                                                                                Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chapter
     I request relief in accordance with the chapter of title 11, United States Code,           of title 11 specified in this petition. A certified copy of the order granting
     specified in this petition.                                                                recognition of the foreign main proceeding is attached.

                                                                                           X
 X                                                                                             Signature of Foreign Representative
     Signature of Debtor

 X                                                                                             Printed Name of Foreign Representative
     Signature of Joint Debtor
                                                                                               Date
     Telephone Number (If not represented by attorney)                                            Signature of Non-Attorney Bankruptcy Petition Preparer

                                                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Date                                                                                      preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                               compensation and have provided the debtor with a copy of this document
                              Signature of Attorney*                                           and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                               110(h), and 342(b); and, (3) if rules or guidelines have been promulgated
                                                                                               pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
 X    /s/ Mindy A. Mora
                                                                                               chargeable by bankruptcy petition preparers, I have given the debtor notice
     Signature of Attorney for Debtor(s)                                                       of the maximum amount before preparing any document for filing for a
      Mindy A. Mora 678910                                                                     debtor or accepting any fee from the debtor, as required in that section.
                                                                                               Official Form 19 is attached.
     Printed Name of Attorney for Debtor(s)
      Bilzin Sumberg Baena Price & Axelrod, LLP
                                                                                               Printed Name and title, if any, of Bankruptcy Petition Preparer
     Firm Name
      200 South Biscayne Blvd.
      Suite 2500                                                                               Social-Security number (If the bankrutpcy petition preparer is not
      Miami, FL 33131                                                                          an individual, state the Social Security number of the officer,
                                                                                               principal, responsible person or partner of the bankruptcy petition
     Address                                                                                   preparer.)(Required by 11 U.S.C. § 110.)


      (305) 374-7580 Fax: (305) 374-7593
     Telephone Number
     August 18, 2009
                                                                                               Address
     Date
     *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
     certification that the attorney has no knowledge after an inquiry that the            X
     information in the schedules is incorrect.
                                                                                               Date
                Signature of Debtor (Corporation/Partnership)
                                                                                               Signature of Bankruptcy Petition Preparer or officer, principal, responsible
     I declare under penalty of perjury that the information provided in this                  person,or partner whose Social Security number is provided above.
     petition is true and correct, and that I have been authorized to file this petition
     on behalf of the debtor.                                                                  Names and Social-Security numbers of all other individuals who prepared or
                                                                                               assisted in preparing this document unless the bankruptcy petition preparer is
     The debtor requests relief in accordance with the chapter of title 11, United             not an individual:
     States Code, specified in this petition.

 X    /s/ Elias Amkie Levy
     Signature of Authorized Individual
      Elias Amkie Levy                                                                         If more than one person prepared this document, attach additional sheets
                                                                                               conforming to the appropriate official form for each person.
     Printed Name of Authorized Individual
      Manager                                                                                  A bankruptcy petition preparer’s failure to comply with the provisions of
                                                                                               title 11 and the Federal Rules of Bankruptcy Procedure may result in
     Title of Authorized Individual                                                            fines or imprisonment or both 11 U.S.C. §110; 18 U.S.C. §156.
      August 18, 2009
     Date
                                            Case 09-27168-LMI                          Doc 1   Filed 08/18/09           Page 4 of 88


B4 (Official Form 4) (12/07)
                                                                 United States Bankruptcy Court
                                                                          Southern District of Florida
 In re       Cabi Downtown, LLC                                                                                        Case No.
                                                                                          Debtor(s)                    Chapter        11


                                LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS
                       Following is the list of the debtor's creditors holding the 20 largest unsecured claims. The list is prepared in
             accordance with Fed. R. Bankr. P. 1007(d) for filing in this chapter 11 [or chapter 9] case. The list does not include (1)
             persons who come within the definition of "insider" set forth in 11 U.S.C. § 101, or (2) secured creditors unless the value of
             the collateral is such that the unsecured deficiency places the creditor among the holders of the 20 largest unsecured claims.
             If a minor child is one of the creditors holding the 20 largest unsecured claims, state the child's initials and the name and
             address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's
             name. See 11 U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

                      (1)                                                    (2)                               (3)                      (4)                      (5)

 Name of creditor and complete                   Name, telephone number and complete                  Nature of claim (trade   Indicate if claim is    Amount of claim [if
 mailing address including zip                   mailing address, including zip code, of              debt, bank loan,         contingent,             secured, also state
 code                                            employee, agent, or department of creditor           government contract,     unliquidated,           value of security]
                                                 familiar with claim who may be contacted             etc.)                    disputed, or subject
                                                                                                                               to setoff
 Gryphon Construction LLC        Gryphon Construction LLC                Trade Debt                                            Disputed                912,272.25
 3300 Corporate Avenue           3300 Corporate Avenue
 Suite 110                       Suite 110
 Fort Lauderdale, FL 33331       Fort Lauderdale, FL 33331
                                 954-217-1501
 Siegfried, River, Lerner, De La Siegfried, River, Lerner, De La Torre & Professional Fees                                                             395,456.98
 Torre &                         Sobel, P.A.
 Sobel, P.A.                     201 Alhambra Circle
 201 Alhambra Circle             Miami, FL 33134
 Suite 1102                      305-422-3334
 Miami, FL 33134
 Holly Sime Realty of Miami,     Holly Sime Realty of Miami, Inc.        Professional Fees                                     Disputed                193,750.00
 Inc.                            1395 Brickell Avenue                                                                          Subject to Setoff
 1395 Brickell Avenue            Suite 900
 Suite 900                       Miami, FL 33131
 Miami, FL 33131                 305-755-0282
 Fullerton-Diaz Architects       Fullerton-Diaz Architects               Professional Fees                                     Disputed                175,554.90
 366 Altara Avenue               366 Altara Avenue
 Miami, FL 33146                 Miami, FL 33146
 Markatech Associates            Markatech Associates                    Trade Debt                                                                    135,723.92
 268 Egler Way                   268 Egret Way
 Weston, FL 33327                Weston, FL 33327
 AON Risk Service                AON Risk Service                        Trade Debt                                            Disputed                127,788.00
 75 Remittance Drive             75 Remittance Drive
 Suite 1943                      Suite 1943
 Chicago, IL 60675               Chicago, IL 60675
 Everglades On the Bay North Everglades On the Bay North                 Trade Debt                                                                    106,394.10
 Condominium Association,        Condominium Association, Inc.
 Inc.                            19950 W. Country Club Drive
 19950 W. Country Club Drive Miami, FL 33180
 Suite 900
 Miami, FL 33180
 O'Brien Lighting, Inc.          O'Brien Lighting, Inc.                  Trade Debt                                                                    92,821.64
 2601 South Bayshore Drive       2601 South Bayshore Drive
 Suite 245                       Suite 245
 Miami, FL 33133                 Miami, FL 33133
                                 305-774-0416

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 In re      Cabi Downtown, LLC                                                                                          Case No.
                                                                Debtor(s)

                                LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS
                                                                                       (Continuation Sheet)

                      (1)                                                    (2)                               (3)                      (4)                      (5)

 Name of creditor and complete                   Name, telephone number and complete                  Nature of claim (trade   Indicate if claim is    Amount of claim [if
 mailing address including zip                   mailing address, including zip code, of              debt, bank loan,         contingent,             secured, also state
 code                                            employee, agent, or department of creditor           government contract,     unliquidated,           value of security]
                                                 familiar with claim who may be contacted             etc.)                    disputed, or subject
                                                                                                                               to setoff
 Holland & Knight LLP                            Holland & Knight LLP                                 Professional Fees                                87,903.74
 P. O. Box 32092                                 P. O. Box 32092
 Lakeland, FL 33802                              Lakeland, FL 33802
                                                 863-682-1161
 Accord International Corp.                      Accord International Corp.                           Trade Debt               Disputed                79,999.98
 1259 Normandy Drive                             1259 Normandy Drive
 Miami Beach, FL 33141                           Miami Beach, FL 33141
                                                 305-848-3310
 R & J Painters, Inc.                            R & J Painters, Inc.                                 Trade Debt               Disputed                58,144.00
 P. O. Box 1302                                  P. O. Box 1302                                                                Subject to Setoff
 Fort Lauderdale, FL 33302                       Fort Lauderdale, FL 33302
                                                 754-422-9624
 Raul Puig Group                                 Raul Puig Group                                      Trade Debt               Disputed                45,552.58
 9200 S. Dadeland Blvd.                          9200 S. Dadeland Blvd.
 Suite 710                                       Suite 710
 Miami, FL 33156                                 Miami, FL 33156
                                                 305-670-9858
 UIC, Inc.                                       UIC, Inc.                                            Trade Debt               Disputed                41,200.00
 P. O. Box 491                                   P. O. Box 491
 Mahwah, NJ 07430                                Mahwah, NJ 07430
                                                 201-661-5000
 Everglades On the Bay South                     Everglades On the Bay South                          Trade Debt                                       38,283.73
 Condominium Association,                        Condominium Association, Inc.
 Inc.                                            19950 W. Country Club Drive
 19950 W. Country Club Drive                     Miami, FL 33180
 Suite 900
 Miami, FL 33180
 ATC International, Inc.                         ATC International, Inc.                              Trade Debt               Disputed                34,768.33
 1270 N.W. 165th Street                          1270 N.W. 165th Street
 Suite 100                                       Suite 100
 Miami, FL 33169                                 Miami, FL 33169
                                                 305-620-0062
 Water Studio, Inc.                              Water Studio, Inc.                                   Trade Debt                                       31,490.00
 5681 Selmaraine Dr.                             5681 Selmaraine Dr.
 Culver City, CA 90230                           Culver City, CA 90230
                                                 310-581-2221
 Greenberg Traurig P.A.                          Greenberg Traurig P.A.                               Professional Fees                                19,519.81
 1221 Brickell Avenue                            1221 Brickell Avenue
 Miami, FL 33131                                 Miami, FL 33131
                                                 305-579-0500
 Signs for You, Inc.                             Signs for You, Inc.                                  Trade Debt               Disputed                18,495.15
 2401 N.W. 34th Avenue                           2401 N.W. 34th Avenue
 Miami, FL 33142                                 Miami, FL 33142
                                                 305-635-6662
 KMH Rockstars LLC                               KMH Rockstars LLC                                    Trade Debt               Disputed                15,637.50
 321 Greens View Drive                           321 Greens View Drive                                                         Subject to Setoff
 Algonquin, IL 60102                             Algonquin, IL 60102


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 In re      Cabi Downtown, LLC                                                                                          Case No.
                                                                Debtor(s)

                                LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS
                                                                                       (Continuation Sheet)

                      (1)                                                    (2)                               (3)                      (4)                      (5)

 Name of creditor and complete                   Name, telephone number and complete                  Nature of claim (trade   Indicate if claim is    Amount of claim [if
 mailing address including zip                   mailing address, including zip code, of              debt, bank loan,         contingent,             secured, also state
 code                                            employee, agent, or department of creditor           government contract,     unliquidated,           value of security]
                                                 familiar with claim who may be contacted             etc.)                    disputed, or subject
                                                                                                                               to setoff
 Lubercy Investments, Inc.                       Lubercy Investments, Inc.                            Trade Debt               Disputed                15,000.00
 1000 South Pointe Drive                         1000 South Pointe Drive
 Unite 1501                                      Unite 1501
 Miami Beach, FL 33139                           Miami Beach, FL 33139
                                                 DECLARATION UNDER PENALTY OF PERJURY
                                               ON BEHALF OF A CORPORATION OR PARTNERSHIP
                      I, the Manager of the corporation named as the debtor in this case, declare under penalty of perjury that I have read
             the foregoing list and that it is true and correct to the best of my information and belief.


 Date August 18, 2009                                                          Signature     /s/ Elias Amkie Levy
                                                                                             Elias Amkie Levy
                                                                                             Manager

          Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                           18 U.S.C. §§ 152 and 3571.




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                                                                  United States Bankruptcy Court
                                                                           Southern District of Florida
 In re       Cabi Downtown, LLC                                                                                   Case No.
                                                                                             Debtor(s)            Chapter    11




                                                 VERIFICATION OF CREDITOR MATRIX


I, the Manager of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:        August 18, 2009                                                   /s/ Elias Amkie Levy
                                                                                Elias Amkie Levy/Manager
                                                                                Signer/Title




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             Ana M. Cuesta Rodriguez
            725 Hollen Road
            Baltimore, MD 21212


             Cabrera & Cabrera
            1075 93 St.
            Bay Harbor, FL 33154


             Christine Edwards & Hugo Angel
            10413 SW 16th Street
            Miami, Fl 33165


             Jose Luis Brito and Anna Brito
            Calle Cincunvalacion del Sol
            Qta. Yuliana Santa Paula, Caracas
            VENEZUELA


             Karen Webb
            2957 SW 12 Street
            Miami, Fl 33135


             Mileidys Yahia
            17710 SW 176 Street
            Miami, FL 33187


            4-D Interinvestment, Inc.
            806 Melissa Dr.
            Oxford, OH 45056


            Abe M. Zelcer
            29 Lyncrest Dr.
            Mosey, NY 10952


            Abel Bermejo
            11723 SW 107 Lane
            Miami, FL 33186


            Abelardo Bastori
            15893 SW 84 Street
            Miami, FL 33193


            Abraham Mizrahi
            Fuente de la Concordia #77
            Tecamachaco 53950
            MEXICO
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        Accord International Corp.
        1259 Normandy Drive
        Miami Beach, FL 33141


        Adam Mizrahi & Daniel Maye
        950 Brickell Bay Drive. Apt. 1403
        Miami, FL 33131


        Adela Fajardo
        10920 SW 161 Place
        Miami, FL 33196


        Adela Marcote
        1736 S.W. 131st Place Circle S.
        Miami, FL 33175


        Adriana Lopez
        14749 SW 142 Street
        Miami, Fl 33196


        AGI, Inc.
        P. O. Box 830054
        Miami, FL 33283


        Aharon Steinberg
        35 Choctaw Trail
        Ringwood, NJ 07456


        Ahmad Shehadeh & Mahmoud Shehade
        18630 NE 2nd Ave
        Miami, FL 33179


        Alan Tempkins
        420 Lincoln Rd
        Miami Beach, FL 33139


        Alba Rincon Zylberman
        2101 Brickell Ave.
        Apt. 1507
        Miami, FL 33129


        Albert McDonald & Larissa Miller
        20005 NE 3 Ct. #3
        Miami, FL 33179
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        Aldo Pellicce
        3014 McDonald
        Miami, FL 33133


        Alejandro Chernicoff
        511 SE 5th Avenue Apt. 2514
        Ft. Lauderdale, FL 33301


        Alejandro Cortina Cordero
        Av. Prolongacion Reforma 115, Piso 9
        Distrito Federal 01330
        MEXICO


        Alejandro Mitarakis
        Avenida Del Parque 4928 Of. 221
        Ciudad Empresarial, Santiagao
        CHILE


        Alejandro Villareal
        Amores 1126-801Colonia Del Valle
        Del. Benito Juarez, Mexico, Distrito
        MEXICO


        Alexander Bezpalko and Boris Dol
        19380 Collins Avenue Apt #1612
        Sunny Isles Beach, FL 33160


        Alexander Brodsky
        3111 Ocean Parkway Apt.7E
        Brooklyn, NY 11234


        Alexis Tejada
        C/O Pedro F. Martell P.A. 9485 S.W. 72 S
        Miami, FL 33173


        Alfonso Herrera
        325 S. Biscayne Blvd. Apt. 4224
        Miami, FL 33131


        Alfred Lugo & Darryl J. Gibson
        3709 Woodfield Dr.
        Coconut Grove, FL 33073
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        Alfredo Guardiola
        801 Brickell Key Blvd. #502
        Miami, FL 33131


        Alfredo Sacal
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        2 Quail Ridge Dr.
        Oxford, OH 45056


        USA Parking
        1 S.E. 3rd Avenue
        Miami, FL 33131


        Vahik Babaian
        61 Private Road
        New York, NY 11765


        Valdor LLC
        Carrera 100 # 23H63
        Bogota
        COLOMBIA


        Valerian E. Kagan
        1522 Denniston Avenue
        Pittsburgh, PA 15217


        Vanessa Miller
        1803 SW 180th Terr
        Miramar, FL 33029


        Vanros
        15762 NW 79th Court
        Miami, FL 33016


        Vered Samocha
        5314 Ellenvalle Avenue
        Woodland Hill, CA 91367


        Vered Samocha
        22220 Miranda Street
        Woodland Hills, CA 91367
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        VGVEC Family Corp.
        P.O. Box 025210 SHIPNET2-1246
        Miami, Fl 33102-5210


        Victor Garcia
        Caterpillar
        15550 NW 59th Avenue
        Miami Lakes, FL 33014


        Victoria Kably
        Sierra Gorda #15 Depto 902
        Lomas de Chapultepec, Distrito Federal
        MEXICO


        Villaroel
        255 Alhambra Cir. #455
        Coral Gables, FL 33134


        Villena
        12735 SW 22nd Street
        Miramar, FL 33027


        Vira Kulykova
        325 N. Oakhurst Drive # 501
        Beverly Hills, CA 90210


        Vivian Abreu
        6239 NW 109 Avenue
        Miami, FL 33178


        Vlad Zher
        831 Barlow Street
        Philadelphia, PA 19116


        Vladimir Klimovistsky
        72 Nevsky pr, #10
        St. Petersburg 191025
        RUSSIA


        Walter G. & Jane Hinman
        645 Rockport Ct
        Marco Island, FL 34145
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        Water Studio, Inc.
        5681 Selmaraine Dr.
        Culver City, CA 90230


        Weichman
        c/o 86th Wine Spirit 306 East 86th Stree
        New York, NY 10028


        WG Yates & Sons Construction
        115 Main Street
        Biloxi, MS 39530


        Wilbur Enterprises, Inc.
        10820 N.W. 7th avenue
        Miami, FL 33132


        William Healy
        509 Giralda Avenue
        Coral Gables, FL 33134


        William Monaco
        103 Birchwood Road
        Coram, NY 11722


        William Shternfeld
        140 Micki Drive
        Morganville, NJ 07751


        William Vilaseca
        2169 NE 163 Street
        North Miami Beach, FL 00033-3162


        Winmax Realty LLC
        207-29 Melissa Ct.
        Bayside, NY 11360


        Wood Business Systems, Inc.
        5350 N.W. 35th Terrace
        Suite 101
        Fort Lauderdale, FL 33309


        Yaffa Alis
        189 Lakeview Ave
        Ringwood, NJ 07456
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        Yawn & Mrs. Venille
        2401 NE 22nd Terrace
        Ft. Lauderdale, FL 33305


        YB Construction, Inc.
        2741 West 6th Avenue
        Hialeah, FL 33010


        Yelitza D'este
        5600 Collins Avenue Apt. 4KL
        Miami Beach, FL 33140


        Yitzik Arvilli
        3630 N 54th Avenue
        Hollywood, FL 33021


        Yolette J. Drouillard
        5223 S.W. 118th Avenue
        Cooper City, FL 33330


        Yolinda Velardita
        21055 Yacht Club Dr.
        #2601
        Aventura, FL 33180


        Yribel Eusebio Ferreira
        7720 N.W. 50th Street
        Lauderhill, FL 33351


        Yuval Navon
        112 Deer Run
        Roslyn, NY 11577


        Yvonne Murillo
        2751 S Ocean Dr. # 908 S
        Hollywood, FL 33019


        Zabnienska
        4797 Modern Drive
        Delray Beach, FL 33445


        Zambrano
        11291 SW 26th St.
        Miami, FL 33165
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        Zamora
        124 Point Breeze Rd
        Western, ME 01570


        Zaven Kellzi
        1004 Trafalgar Drive
        Glendale, CA 91207


        Zavilensky
        16 Mica Drive
        Kinnelon, NJ 07405


        Zilbert & Mr. Bley
        80 Bathgar St.
        Staten Island, NY 10312


        Zurich American Insurance Comapny
        One Liberty Plaza
        30th Floor
        New York, NY 10006
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                         WRITTEN CONSENT OF MANAGER AND RESOLUTIONS OF

                                              CABI DOWNTOWN, LLC


                        The undersigned managers (the “Managers”) of Cabi Downtown, LLC, a Florida

                 limited liability company (the “Company”), and authorized to act on behalf of the

                 members of the Company pursuant to the limited liability company agreement of the

                 Company. hereby consents to the following actions and to the adoption of the following

                 resolutions and directs that this Written Consent of Managers and Resolutions of Cabi

                 Downtown, LLC (this “Consent”) be filed with the minutes of the proceedings of the

                 Company.:

                               RESOLVED, that it is desirable and in the best interests of the
                       Company, its creditors, members, employees and other interested parties
                       that a voluntary petition under Chapter 11 of Title 11 of the United States
                       Code (the “Bankruptcy Code”) be filed on behalf of the Company (the
                       “Petition”) in the United States Bankruptcy Court for the Southern District
                       of Florida and the same is hereby authorized and approved; and it is,

                               FURTHER RESOLVED, that Elias Amkie and each of the
                       Managers (each, an “Authorized Officer,” and collectively, the
                       “Authorized Officers”) be, and each of them hereby is, authorized to
                       prepare, execute and verify the Petition in such form as the officer
                       executing the same shall deem appropriate and as required by law and to
                       file such petition in the appropriate court together with such statements,
                       schedules, exhibits and reports as may be required from time to time by
                       the bankruptcy court, the Bankruptcy Rules or order of court, and to
                       prepare and execute all other papers and take all other actions necessary or
                       appropriate in connection with the Company’s Chapter 11 bankruptcy
                       case, or any superseding or other bankruptcy case, the operation by the
                       Company of its business as debtor-in-possession, the development and
                       consummation of a Plan of Reorganization, and any other proceedings or
                       matters arising therein or related thereto, all in such form as the
                       Authorized Officers, acting jointly or individually, shall approve, such
                       approval to be conclusively evidenced by the execution and delivery
                       thereof; and it is,


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                            FURTHER RESOLVED, that the law firm of Kasowitz, Benson,
                     Torres & Friedman LLP, 1633 Broadway, New York, New York 10019,
                     and the law firm of Bilzin Sumberg Baena Price & Axelrod LLP, 200
                     South Biscayne Boulevard, Suite 2500, Miami, Florida 33131-5340, be
                     employed as attorneys for the Company in the Company’s Chapter 11 case
                     under a general retainer; and it is,

                            FURTHER RESOLVED, that each of the Authorized Officers be,
                     and each hereby is, authorized and empowered on behalf of (and in the
                     name of) the Company to take any and all such further actions as he/she
                     determines to be necessary or helpful to these purposes, including to retain
                     and employ other attorneys, investment bankers, accountants, and other
                     professionals to assist in the Company’s Chapter 11 case on such terms as
                     such Authorized Officer deems necessary, proper, or desirable; and it is,

                              FURTHER RESOLVED, that any and all past actions heretofore
                     taken by officers or members of the Company on behalf of (and in the
                     name of) the Company in furtherance of any or all of the preceding
                     resolutions be, and the same hereby are, ratified, approved, and adopted;
                     and it is,

                             FURTHER RESOLVED, that each of the Authorized Officers be,
                     and each hereby is, authorized and empowered on behalf of (and in the
                     name of) the Company to take any and all such further actions as any of
                     such officers may determine to be necessary or helpful to carry out the
                     intention of the foregoing resolutions.

                            FURTHER RESOLVED, that this Consent shall have the same
                     force and effect as a unanimous vote of member at a duly called meeting
                     and shall be effective as of the date hereof; and that this consent may be
                     executed by facsimile; and it is,

                            FURTHER RESOLVED, that this Consent be filed with the
                     minutes of proceedings in the Company’s minute book.




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